        Case 2:15-cr-00037-DLC Document 170 Filed 06/02/16 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                             CR 15–37–BU–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 EDWARD THOMAS McINTEE,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on May 17, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Edward Thomas McIntee’s

guilty plea after McIntee appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to one count of possession

                                           1
       Case 2:15-cr-00037-DLC Document 170 Filed 06/02/16 Page 2 of 2



with intent to distribute methamphetamine in violation of 21 U.S.C. §§ 841(a)(1)

(Count VI) as set forth in the Indictment. In exchange for Defendant’s plea, the

United States has agreed to dismiss Counts I and II of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

151), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Edward Thomas McIntee’s motion to

change plea (Doc. 114) is GRANTED and Edward Thomas McIntee is adjudged

guilty as charged in Count VI of the Indictment.

      DATED this 2nd day of June, 2016.




                                         2
